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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 UNITED STATES OF AMERICA

               v.
                                                        No. 1:18-cr-457-AJT
 BIJAN RAFIEKIAN,

               Defendant.


      THE UNITED STATES’ MOTION TO CONTINUE STATUS CONFERENCE

       On March 25, 2022, this Court granted defendant’s renewed motion for a new trial and set

a status conference for April 20, 2022, to schedule a date for a new trial. See Dkt. 412. The United

States has now noticed an appeal from that order. See Dkt. 413. Because setting a new trial date

necessarily depends on when and how such an appeal is finally resolved, the United States respect-

fully requests that the Court continue the April 20 status conference until that resolution. See, e.g.,

United States v. Christy, 3 F.3d 765, 767–78 (4th Cir. 1993) (noting that the filing of a notice of

appeal divests district court of jurisdiction over aspects of case involved in appeal). Counsel for

the government has informed defense counsel of its notice of appeal and its intent to seek this

continuance, and defense counsel opposes the continuance.

                                         Respectfully submitted,

                                         JESSICA D. ABER
                                         ACTING UNITED STATES ATTORNEY

 __________/s/_____________              By:    _____/s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 18, 2022, I electronically filed the foregoing using the

CM/ECF system, which will send a notification of such filing to all counsel of record.



                       /s/
                      Aidan Taft Grano-Mickelsen
                      Assistant United States Attorney




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